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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES OF AMERICA,                              §
                                                       §
                Plaintiff,                             §
                                                       §
v.                                                     §               1:21-CV-796-RP
                                                       §
THE STATE OF TEXAS,                                    §
                                                       §
                Defendant.                             §

                                               ORDER

        Before the Court are Intervenor-Defendants Erick Graham, Jeff Tuley, and Mistie Sharp’s

(“Intervenors”) Motion for Reconsideration of Order Regarding Hearing (“Motion”), (Dkt. 49), the

United States’ Response, (Dkt. 51), and the Intervenors’ Reply, (Dkt. 52). The preliminary injunction

hearing is set for tomorrow, October 1, 2021, at 9:00 a.m. (Dkt. 12). On September 28, 2021, the

Court issued an order allotting the United States and the State of Texas (“Texas”) one hour each to

present facts and arguments, plus twenty minutes for Texas to present deposition testimony, and the

Intervenors thirty minutes, plus ten minutes for another intervenor. (Order, Dkt. 41).

        The Intervenors now request, on the eve of the hearing, that the Court alter its hearing

schedule to allow them two hours (twice the amount of time allotted to the plaintiff and defendant)

to present live witness testimony from the United States’ abortion provider declarants and two or

three other unidentified witnesses. (Dkt. 49, at 5).

        Although this case has, of necessity, proceeded on an expedited timeline, Intervenors did not

file their Motion to Intervene until two weeks after this case was filed. (Dkt. 28). The have waited

another full week—until less than two days before the hearing—to make this request to the Court,

despite the fact that the hearing has been scheduled since before they moved to intervene. (Dkt. 12).




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       Intervenors have been allotted thirty minutes to present facts and arguments not already

raised by Texas. Under this schedule, the defendants collectively—including Intervenors—will have

two-thirds of the total time for the hearing. To grant Intervenors even more time would stretch the

bounds of fairness.

       As such, IT IS ORDERED that Erick Graham, Jeff Tuley, and Mistie Sharp’s Motion for

Reconsideration of Order Regarding Hearing, (Dkt. 49), is DENIED.

 SIGNED on September 30, 2021.


                                            _____________________________________
                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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